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GAS 245B               (Rev. 11/16) Judgment in a Criminal Case
DC Custody TSR



                                               United States District Court
                                                           SOUTHERN DISTRICT OF GEORGIA
                                                                SAVANNAH DIVISION

              UNITED STATES OF AMERICA                                                     JUDGMENT IN A CRIMINAL CASE
                                        V.

                           Eusi ShangQ Sampson
                                                                                           Case Number;             4:I6CR00224-7

                                                                                           USM Number;              21601-021

                                                                                           James Wrixam Mcllvaine
                                                                                           Defendant's Attorney
THE DEFENDANT:

13 pleaded guilty to Counts             34 and 35

□ pleaded nolo contendere to Count(s)                               which was accepted by the court,

n was found guilty on Count(s)                               after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                        Nature of Offense                                                                  Offense Ended         Count


21 U.S.C. § 843(b) and                 Use of a communication facility                                                   December 24, 2015
21 U.S.C. § 843(d)

21 U.S.C. § 843(b) and                 Use of a communication facility                                                   December 30, 2015        35
21 U.S.C. § 843(d)

      The defendant is sentenced as provided in pages 2 through                            of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)

13 Count           1         is dismissed as to this defendant on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fiilly paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   June 15, 2017
                                                                                   Date of imposition of Judgment




                 00                                                                Signature ol'Judge
      g;
      r:)>*

               3C                                                                  William T. Moore, Jr.
               CL.
 LUo;;-:                                                                           Judge, U.S. District Court
              (Ti
 If     * -                                                                        Name and Tille of Judge

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              c                                                                    Date
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DEFENDANT:                   Eusi Shango Sampson
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                                                                   IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
            term of: 21 months as to each of Counts 34 and 35. to be served concurrently.



     lEl    The court makes the following recommendations to the Bureau of Prisons:
            It is recommended that the defendant be evaluated by Bureau of Prisons officials to establish his participation in an appropriate
            program ofsubstance abuse treatment and counseling during his term of incarceration. It is also recommended that the defendant
            be given credit toward this federal sentence for all time served in custody since June 28. 2016. that is not credited toward
            another sentence. Designation to the federal facility in Jesup, Georgia, or Estill, South|Carolina, is recommended.
     [3     The defendant is remanded to the custody ofthe United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:

           □     at                                  □      a.m.    □ p.m.           on                                       .

           □     as notified by the United States Marshal.

     n      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           □     before 2 p.m. on
           □     as notified by the United States Marshal.
           □     as notified by the Probation or Pretrial Services Office.


                                                                        RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                             to

at                                                        , with a certified copy of this Judgment.


                                                                                                         UNITED STATES MARSHAL




                                                                                By                       .
                                                                                                      DEPUTY UNITED STATES MARSHAL
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DEFENDANT:              Eusi Shango Sampson
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: 1 year as to each of Counts 34 and 35. to be served
concurrently.


                                                    MANDATORY CONDITIONS

1.    You must not commit another federal, state, or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to 1 drug test within 15 days of release
      from imprisonment and at least 2 periodic drug tests thereafter, as determined by the court.
      D The above drug testing condition is suspended, based on the court's determination that you pose a low risk offuture
      substance abuse. (Check, ifapplicable.)
4.    13 You must cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act(42 U.S.C. § 16901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
      works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)
6.    □ You must participate in an approved program for domestic violence. (Check, ifapplicable.)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.
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                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.

  2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
  3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
       the court or the probation officer.
  4.   You must answer truthfully the questions asked by your probation officer.
  5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
  6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she oljserves in plain view.
  7. You must work full time (at least 30 hours per week)at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
     10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
  8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
  9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. anything that
     was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as a nunchakus or
       tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting permission from the court.
 12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified that person about the risk.
 13.   You must follow the instructions ofthe probation officer related to the conditions ofsupervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                Date
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